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                   UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                            Criminal No. 09-cr-187-09-JL

Richard Woods


                                   O R D E R


        The assented to motion to reschedule jury trial (document no.

239 ) filed by defendant is granted; Final Pretrial is rescheduled

to December 17, 2010 at 11:00am; Trial is continued to the two-week

period beginning January 4, 2011, 09:30.

        Defendant shall file a waiver of speedy trial rights within 10

days.    The court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for the

reasons set forth in the motion.

        SO ORDERED.



                                           _______________________________
                                           Joseph N. Laplante
                                           United States District Judge

Date:     September 1, 2010




cc:   Jen Davis, AUSA
      Richard Hubbard, Esq.
      David Bownes, Esq.
      U.S. Marshal
      U.S. Probation
